             Case 2:04-cr-00218-MCE Document 117 Filed 06/09/09 Page 1 of 4


P R O B 35           ORDER TERMINATING SUPERVISED RELEASE
                           PRIOR TO EXPIRATION DATE


                            UNITED STATES DISTRICT COURT
                                      FOR THE
                           EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA                              )
                                                      )
                             vs.                      )        Docket Number: 2:04CR00218-04
                                                      )
JOSEPH WILLIAM McALLISTER                             )
                                                      )


On April 18, 2006, the above-named releasee was placed on Supervised Release for a period
of 3 years, which commenced on April 12, 2007. He has complied with the rules and
regulations of supervision. It is accordingly recommended that he be discharged from
supervision.

                                       Respectfully submitted,

                                       /s/ Richard A. Ertola
                            for
                                    MICHAEL A. SIPE
                          Senior United States Probation Officer

Dated:         June 4, 2009
               Roseville, California
               MAS:jc


REVIEWED BY:           /s/ Richard A. Ertola
                      RICHARD A. ERTOLA
                      Supervising United States Probation Officer




                                                                                                               R ev. 05/2006
                                                                    E A R LY T E R MIN A T IO N ~ O R D E R (P R O B 35).M R G
          Case 2:04-cr-00218-MCE Document 117 Filed 06/09/09 Page 2 of 4


Re:   Joseph William McALLISTER
      Docket Number: 2:04CR00218-04
      ORDER TERMINATING SUPERVISED RELEASE
      PRIOR TO EXPIRATION DATE




                                  ORDER OF COURT

It is ordered that the supervised releasee be discharged from supervised release, and that
the proceedings in the case be terminated.


 Dated: June 8, 2009


                                         ______________________________
                                         MORRISON C. ENGLAND, JR.
                                         UNITED STATES DISTRICT JUDGE



MAS:jc
Attachment: Recommendation
cc:   United States Attorney's Office
      Fiscal Clerk, Clerk's Office




                                                                                                       R ev. 05/2006
                                                            E A R LY T E R MIN A T IO N ~ O R D E R (P R O B 35).M R G
          Case 2:04-cr-00218-MCE Document 117 Filed 06/09/09 Page 3 of 4


                       RECOMMENDATION TERMINATING
                SUPERVISED RELEASE PRIOR TO EXPIRATION DATE


                           UNITED STATES DISTRICT COURT
                                     FOR THE
                          EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA                  )
                                          )
                           vs.            )       Docket Number: 2:04CR00218-04
                                          )
JOSEPH WILLIAM McALLISTER                 )
                                          )


LEGAL HISTORY:
On April 18, 2006, the above-named releasee was placed on Supervised Release for a
period of thirty-six months, which commenced on April 12, 2007. Special conditions included
a requirement for search and seizure; financial access; correctional treatment for drug or
alcohol abuse; drug and alcohol testing; a co-payment plan for services of $25 per month;
and DNA testing as directed by the probation officer.
SUMMARY OF COMPLIANCE:
The releasee has complied with all conditions and special conditions of Supervised Release,
and he has not been involved in any further criminal activities. It is the opinion of the
probation officer that Joseph William McAllister has derived maximum benefit from
supervision and is not in need of continued supervision.




RECOMMENDATION:
It is, therefore, respectfully recommended that Supervised Release in this case be terminated
early.
                                  Respectfully submitted,
                                  /s/ Michael A. Sipe
                                   MICHAEL A. SIPE
                         Senior United States Probation Officer
Dated:       May 21, 2009

                                                                                         Rev. 04/2007
                                              3             EARLY TERMINATION ~ RECOMMENDATION.MRG
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  Re:      Joseph William McALLISTER
           Docket Number: 2:04CR00218-04
           RECOMMENDATION TERMINATING
           SUPERVISED RELEASE PRIOR TO EXPIRATION DATE


                Roseville, California
                MAS:jc

REVIEWED BY:             /s/ Richard A. Ertola
                        RICHARD A. ERTOLA
                        Supervising United States Probation Officer
MAS:jc
cc:     AUSA Philip Ferrari (Pursuant to Rule 32, notice of proposed relief to the supervisee is being
        provided. If no objection is received from you within 14 days, the probation officer's Recom m endation
        and Prob35-Order Term inating Supervised Release Prior to Expiration Date, will be subm itted to the
        Court for approval.)




                                                                                                    Rev. 04/2007
                                                      4                EARLY TERMINATION ~ RECOMMENDATION.MRG
